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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

  IN RE:
                                                  CASE NO. 19-42834
  MUHAMMAD NASIR SIDDIQI                          CHAPTER 7

                               DEBTOR
  MARK A. WEISBART,
  CHAPTER 7 TRUSTEE                               ADVERSARY NO. 20-04037

                               PLAINTIFF
  V.

  JAMELA SIDDIQI

                               DEFENDANT


                       EXHIBIT “A” TO SUBPOENA DUCES TECUM



                                         I. DEFINITIONS

        In connection with the Documents herein requested, you are to use and apply the following

 definitions:

                (a)    “Document” and “Documents” are used in their broadest sense and shall

                       mean every writing however produced or reproduced and regardless of

                       origin, whether handwritten, typed, printed,, micro-filmed, photostated, or

                       recorded and any graphic matter of every kind and description, together

                       with all attachments and appendices thereto, including, but not limited to,

                       agreements, contracts, communications, correspondence, memoranda,

                       telecopies, stenographic or handwritten notes (including notes of meetings

                       and conversations), letters, telegrams, messages (including reports of



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                 telephone conversations and conferences), tapes (including voice

                 recordings and videotapes), records of conversations, transcripts, studies,

                 analyses, comparisons, demands, schedules, recordings, papers, data sheets,

                 publications, books, circulars, brochures, pamphlets, bulletins, notices,

                 instructions, drafts, notebooks, diaries, calendars, articles, news clips and

                 newspapers, press releases, films, photographs, sketches, drawings, charts,

                 diagrams, forms, manuals, lists, surveys, records, computer records, work

                 papers, invoices, shipping documents, bills of lading, packing lists, delivery

                 orders, custom reports, billing statements, airways bills, purchase orders,

                 financial reports and statements, balance sheets, profit and loss statements,

                 statements of earnings, statements of net worth, statements of operation,

                 auditor reports, audit work papers, financial reports and summaries, income

                 statements, statements or lists of assets, bank statements, checking

                 statements, checks, deposit receipts, canceled checks, wire transfer

                 acknowledgments or receipts, accounts payable ledgers, accounts

                 receivable ledgers, appraisals, notes, security agreements, financing

                 statements, certificates of title, commitment letters, commission

                 agreements, expense records, opinions, legal opinions, expert opinions,

                 reports, minutes of meetings or consultations, and other such materials. The

                 term “Document” further includes any and all “electronically stored

                 information” including, without limitation, writings, emails, drawings,

                 graphs, charts, photographs, sound recordings, images, and other data or

                 data compilations stored in any medium from which information can be



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                  obtained including those generated by use of a computer, whether or not

                  reduced to paper, and specifically includes any and all writings or graphic

                  matters stored on a server computer, a computer disc, CD-Rom, or external

                  hard drive in whatever shape or form. The terms further include all

                  documents now or formerly in Defendant’s actual or constructive

                  possession, custody or control or his counsel, representatives, or other third

                  parties from whom such documents may be obtained or of which Defendant

                  or his counsel have knowledge. The terms also include every copy of any

                  document which contains any commentary, notation or variation

                  whatsoever that does not appear in the original. Documents shall not

                  include any documents previously produced in connection with the 2004

                  examination of Tracey L. Gelling pursuant to the Order entered on

                  November 13, 2019 in the Hall case.

           (b)    “Person(s)” refers to natural Persons, corporations, partnerships,

                  proprietorships, associations, organizations, governmental entities, groups

                  of Persons, or any other entities or institutions of whatever nature, whether

                  formed for a business purpose, a governmental purpose or any other

                  purpose.

           (c)    “Relating to” means, without limitation, related to, referencing, reflecting,

                  evidencing, constituting, disclosing, detailing, discussing, identifying,

                  recording, describing, pertaining to in any respect.

           (d)    “Identify(ing)” means,

                               (i)       When referring to a communication, to the extent the



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                         communication was written, to identify the document(s) which

                         refer to or evidence the communication and, to the extent the

                         communication was verbal, to state the Person(s) making the

                         communication,       any   and   all   Persons   to   whom     the

                         communication was directed, any and all Persons who may have

                         overhead the communication, whether or not such Persons in

                         fact did, the manner in which the communication was conveyed,

                         the date, time and place of the communication, and the substance

                         of the communication.

                          (ii)       When referring to a Document, state the title and date

                         of the document, a summary of its contents, the author of the

                         document, the circumstances surrounding creation or production

                         of the document, when the document was first received, all

                         Persons who received a copy of the document at any time

                         subsequent to its creation or if received from another Person

                         since its receipt.

                         (iii)       When referring to a fact, describe with specificity,

                         each and every fact, ultimate fact, circumstance, occurrence,

                         incident, act, omission, event relating to otherwise pertaining to

                         the matters inquired of in the subject interrogatory, and its date,

                         place of occurrence, all Persons involved or witness such

                         occurrence or with knowledge relating to such occurrence or

                         fact, whether such Persons were witness or who were advised or



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                               told of such occurrence or fact at any point thereafter.

                               (iv)       When referring to business entity, state the entity’s

                               name, business address and telephone, its corporate form and

                               state of incorporation or organization;

                               (v)        When referring to a natural Person, state the Person’s

                               name, current or last known residential address and telephone

                               number and current or last known business address and

                               telephone number.

           (e)    “Describe” when used with respect or in connection with an act,

                  occurrence, event, fact or state of affairs, shall require a description of the

                  act, occurrence, event, fact or state of affairs referred to; the identifying of

                  all Persons who may possess or have knowledge and the manner in which

                  such knowledge may have been acquired; and the statement of what acts

                  were performed, accomplished or attempted by each Person who in any way

                  participated in or was present at the event, fact or occurrence being

                  described.

           (f)    “Evidencing” means tending to show in any probative manner the existence

                  or non-existence of any matter the subject of the request.

           (g)    “You” means Muhammad Nasir Siddiqi.

           (h)    “Debtor” means Muhammad Nasir Siddiqi, debtor in the Siddiqi Case.

           (i)    “Siddiqi Case” means the bankruptcy case filed by Muhammad Nasir

                  Siddiqi on October 16, 2019, case no. 19-42834.

           (j)    “Siddiqi Petition Date” means October 16, 2019.



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           (k)      “Defendant” means Jamela Siddiqi, her employees, agents, officers,

                    directors, and all Persons acting or purporting to act on its behalf.

           (l)      “Jamela Siddiqi” or “JS” means Jamela Siddiqi, defendant in the

                    Adversary Proceeding.

           (m)      “Trustee” or “Plaintiff” means Mark A. Weisbart, Chapter 7 Trustee and

                    plaintiff in this lawsuit.

           (n)      “Bankruptcy Court” means the United States Bankruptcy Court for the

                    Eastern District of Texas, Sherman Division.

           (o)      “Adversary Proceeding” means the adversary proceeding styled Mark A.

                    Weisbart, Chapter 7 Trustee v. Jamela Siddiqi, Adv. No. 20-04037, filed in

                    connection with the Siddiqi Case.

                 (p) “Answer” means Defendant’s answer filed in the Adversary Proceeding.

           (q)      “Trial” means the trial in the Adversary Proceeding.

           (r)      “Complaint” means Trustee’s Original Complaint filed on February 28,

                    2020, commencing the Adversary Proceeding

           (s)      “Deed Transfer” means that deed transferring Debtor’s interest in the

                    Lakestream Property on July 19, 2018, a copy which is attached hereto as

                    Exhibit “1.”

           (t)      “Lakestream Property” means that property identified as 1109

                    Lakestream Drive, Plano, Texas 75075.

           (u)      “Ropal Litigation” means that certain dispute involving Ropal

                    Entertainment, LLC, Hiba Entertainment, Inc., Mohammad Nasir Siddiqi

                    and Azhar Qasmi commenced in 2017 that resulted in that certain Final



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                 Judgment on Award of Arbitrator entered in Ropal Entertainment, LLC v.

                 Hiba Entertainment, Inc., Mohammad Nasir Siddiqi and Azhar Qasmi,

                 Cause No. DC-18-09276, in the 193rd Judicial District Court, Dallas

                 County, Texas, signed on March 7, 2019.




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                                II. DOCUMENTS TO BE PRODUCED


 PRODUCTION OF DOCUMENTS NO. 1:
 All Documents which identify or evidence all of your debts or liabilities for the time period January
 1, 2018, through December 31, 2018.

 RESPONSE:


 PRODUCTION OF DOCUMENTS NO. 2:
 All Documents which identify all claims asserted against You for the time period January 1, 2018,
 through December 31, 2018.

 RESPONSE:


 PRODUCTION OF DOCUMENT NO. 3:
 All of Your bank account statements for calendar year 2018.

 RESPONSE:


 PRODUCTION OF DOCUMENTS NO. 4:
 All of Your credit card statements for 2018.

 RESPONSE:


 PRODUCTION OF DOCUMENTS NO. 5:
 All Documents which relate to or evidence communications, including, without limitation, emails,
 texts and correspondence, between You and JS concerning the Lakestream Property since July 26,
 2010.

 RESPONSE:

 PRODUCTION OF DOCUMENTS NO. 6:
 All Documents which relate to or evidence communications, including, without limitation, emails,
 texts and correspondence, between You and JS concerning or relating to the Ropal Litigation.

 RESPONSE:




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 PRODUCTION OF DOCUMENTS NO. 7:
 All bills from phone companies for the period May 1, 2017, through March 31, 2019, that identify
 and evidence Your phone calls and texts to and from third parties.

 RESPONSE:


 PRODUCTION OF DOCUMENTS NO. 8:
 All Documents which evidence, reflect or refer to the Deed Transfer at issue in the Adversary
 Proceeding.

 RESPONSE:


 PRODUCTION OF DOCUMENTS NO. 9:
 All Documents that evidence, refer or reflect any oral agreements between You and JS related in
 any way to the Deed Transfer or the Lakestream Property.

 RESPONSE:


 PRODUCTION OF DOCUMENTS NO. 10:
 All Documents identifying or evidencing the assets You owned during the period January 1, 2018,
 through December 31, 2018.

 RESPONSE:


 PRODUCTION OF DOCUMENTS NO. 11:
 All Documents identifying or evidencing the value of any of the assets You owned during the
 period January 1, 2018, through December 31, 2018.

 RESPONSE:


 PRODUCTION OF DOCUMENTS NO. 12:
 Your federal tax returns for 2015, 2016, 2017 and 2018.

 RESPONSE:




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 PRODUCTION OF DOCUMENTS NO. 13:
 The federal tax returns for Hiba Entertainment, Inc. for 2018.

 RESPONSE:


 PRODUCTION OF DOCUMENTS NO. 14:
 All financial records of Hiba Entertainment, Inc. for 2018, including, without limitation, financial
 statements, balance sheets, cash flow statements, bank account statements, credit card statements
 and contracts.

 RESPONSE:


 PRODUCTION OF DOCUMENTS NO. 15:
 All Documents which identify or evidence the debts or liabilities of Hiba Entertainment for the
 time period January 1, 2018, through December 31, 2018.

 RESPONSE:


 PRODUCTION OF DOCUMENTS NO. 16:
 All Documents which identify or evidence all assets of Hiba Entertainment at any time during the
 time period January 1, 2018, through December 31, 2018.

 RESPONSE:


 PRODUCTION OF DOCUMENTS NO. 17:
 All Documents identifying or evidencing the value of any of the assets Hiba owned during the
 period January 1, 2018, through December 31, 2018.

 RESPONSE:


 PRODUCTION OF DOCUMENTS NO. 18:
 All Documents which relate to or evidence communications, including, without limitation, emails,
 texts and correspondence, between You and any other person concerning the Lakestream Property
 during the period May 1, 2017, and March 31, 2019.

 RESPONSE:




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 PRODUCTION OF DOCUMENTS NO. 19:
 All Documents which relate to or evidence communications, including, without limitation, emails,
 texts and correspondence, between You and any other person, other than Your attorneys,
 concerning or relating to the Ropal Litigation.

 RESPONSE:




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